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UNITED STATES DISTRICT COURT TBLECTROMICALLY FILED
SOUTHERN DISTRICT OF NEW YORK DOC #:

 

 

 

 

 

ian OL.
VIRGINIA L. GIUFFRE, paTe Riis B77

 

 

Plaintiff,
15 Civ. 7433 (LAP)
~against-
ORDER

 

GHISLAINE MAXWELL,

Defendant.

 

 

LORETTA A. PRESKA, Senior United States District Judge:
Counsel shali confer and appear for a conference on

September 4, 2019 at 9:00AM in courtroom 12A to discuss how to

proceed.
SO ORDERED.
Dated: New York, New York

August oF , 2019

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LORETTA A. PRESKA
Senior United States District Judge

 

 
